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UN|TED STATES OF AMER|CA

 

P|aintiff

VS.
CR. NO. 05-20132-D

R|CHARD ESTEVANES

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG F’ER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for a report date on August 25, 2005. Counsel forthe defendant
moved for a continuance of the September 6, 2005 trial date in order to allow for additional
preparation in the case.

The Court granted the motion and reset the trial date to November 7, 2005 with a

re ort date of Thursda October 27 2005 at 9:00 a.m., in Courtroom 3, ch F|oor of

 

the l-“ederat Building, Nlemphis, TN.

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this ZM£ day of September, 2005.

 
 
  

 

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This notice confirms a copy of the document docketed as number 37 in
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Lorraine Craig

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Honorable Bernice Donald
US DISTRICT COURT

